TO:    All Court of Appeals Judges, Professor Bacigal, Professor Spratt and Alice Armstrong

FROM: Marty Ring

DATE: March 2, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Jordan Alexander Price
              v. Natasha Yvonne Peek, f/k/a, etc.
              Record No. 0852-20-3
              Opinion rendered by Chief Judge Decker on
              December 22, 2020

          2. Ryan Thomas Pick
             v. Commonwealth of Virginia
             Record No. 1945-19-2
             Opinion rendered by Judge O’Brien on
              January 12, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Kumar Sangaran
   v. Shabnam Sachdeva
   Record No. 1898-19-4
   Opinion rendered by Judge AtLee
    on June 23, 2020
   Refused (201045)

2. Wardell Orthopaedics, P.C.
    v. Colonna’s Shipyard, Inc., et al.
   Record No. 1930-19-1
    Opinion rendered by Judge O’Brien
     on July 14, 2020
    Refused (201008)

3. Timothy Warnick, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 0616-19-4
   Opinion rendered by Judge Humphreys
     on July 7, 2020
   Refused (201124)

4. Lenny Rock Kenner
   v. Commonwealth of Virginia
   Record No. 0934-18-1
   Opinion rendered by Judge Humphreys
    on December 3, 2019
   Judgment of Court of Appeals affirmed by opinion rendered
    on February 25, 2021 (200027)
